                    UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                             Docket No. 5:06CR37-V



UNITED STATES OF AMERICA            )
                                    )
            v.                      )
                                    )
ALBERTO LOPEZ-ABURTO,               )
            Defendant               )
____________________________________)


                                        ORDER

      THIS CAUSE coming to be heard and being heard before the Honorable David C.

Keesler upon motion of the defense to allow Thomas C. Fagerberg, 1004 West Avenue,

Austin, Texas 78701 to appear Pro Hac Vice as attorney of record in the above-captioned

matter.

      IT IS HEREBY ORDERED that Thomas C. Fagerberg may appear Pro Hac Vice as

attorney of record in the above-captioned matter.




                                          Signed: October 4, 2006




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